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    5
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    6
                                    UNITED STATES DISTRICT COURT
    7
    8                            CENTRAL DISTRICT OF CALIFORNIA

    9   THERESA BROOKE, a married woman
        dealing with her sole and separate claim,       Case No:
   10
   11                           Plaintiff,              VERIFIED COMPLAINT
   12   vs.                                             (JURY TRIAL DEMANDED)
   13
        EL PATIO BEACHSIDE INN INC., a
   14   California corporation,
   15
                                Defendant.
   16
               Plaintiff alleges:
   17
                                                   PARTIES
   18
               1.      Plaintiff Theresa Brooke is a married woman. Plaintiff is legally disabled,
   19
        and is therefore a member of a protected class under the ADA, 42 U.S.C. § 12102(2),
   20
        the regulations implementing the ADA set forth at 28 CFR §§ 36.101 et seq., the
   21
        California Unruh Civil Rights Act. Plaintiff ambulates with the aid of a wheelchair due
   22
        to the loss of a leg.
   23
               2.      Defendant, El Patio Beachside Inn Inc., owns and/or operates and does
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        business as the hotel Beachside Inn located at 336 West Cabrillo Boulevard, Santa
   25
        Barbara, California 93101. Defendant’s hotel is a public accommodation pursuant to 42
   26
        U.S.C. § 12181(7)(A), which offers public lodging services. On information and belief,
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        Defendant’s hotel was built or renovated after March 15, 2012.
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    1                                          JURISDICTION
    2          3.     Jurisdiction in this Court is proper pursuant to 28 U.S.C. §§ 1331 and 42
    3   U.S.C. § 12188.
    4          4.     Plaintiff’s claims asserted herein arose in this judicial district and
    5   Defendant does substantial business in this judicial district.
    6          5.     Venue in this judicial district is proper under 28 U.S.C. § 1391(b) and (c)
    7   in that this is the judicial district in which a substantial part of the acts and omissions
    8   giving rise to the claims occurred.
    9          6.     Pursuant to Arroyo v. Rosas, supplemental jurisdiction is appropriate over
   10   Plaintiff’s Unruh claim. On a case-specific analysis, there are no compelling reasons to
   11   decline jurisdiction.
   12                                          ALLEGATIONS
   13          7.     Plaintiff alleges that Defendant’s Hotel’s disabled parking does not adjoin
   14   an accessible route to the Facility. Section 502.3.
   15          8.     Disabled parking spots relate to Plaintiff’s disability because she has only
   16   one leg and uses a wheelchair, and disabled parking provides for an access aisle and
   17   closer distances to an accessible entrance.
   18          9.     It is more difficult for a person in a wheelchair to move about than a
   19   person who is able to walk; it is also more time-consuming. Hence, disabled parking is
   20   mandated to provide an accessible route from the parking to the facility entrance.
   21          10.    Plaintiff formerly worked in the hospitality industry. She is an avid
   22   traveler across California for purposes of leisure travel and to “test” whether various
   23   hotels comply with disability access laws, doing so at least once per month. Testing is
   24   encouraged by the Ninth Circuit.
   25          11.    In early June 2025, Plaintiff visited Defendant’s hotel, which has a
   26   parking lot and disabled parking. However, the disabled parking spot does not have an
   27   accessible route leading from the disabled parking to the Hotel’s entrance. There are
   28   curbs surrounding the disabled parking spot, and while a ramp from the spot to an


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    1   adjoining walkway is provided, it is strangely narrow that no reasonable disabled
    2   person in a wheelchair could fit onto. The ramp is about half of the required 36 inch
    3   width. This photographs shows how the lack of any accessible route:
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           12.
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   17            13.   As a result of the violation that she personally encountered, she was
   18   deterred from entering the Hotel lobby and left the Hotel.
   19
                 14.   Remediation of the lack of accessibility can be cured by making the ramp
   20
        pictured above 36 inches or wider.
   21
                 15.   Plaintiff has certain plans of returning and staying at the Hotel in October
   22
        2025 during one of her many trips across Southern California, in the hopes that
   23
        Defendant will have remediated the barrier by then thereby allowing her full and equal
   24
        access. If the barrier is not removed by the time of her return, she will remain deterred.
   25
                 16.   It is readily achievable and inexpensive to modify the Hotel to paint an
   26
        access aisle leading from the disabled parking to the Hotel’s entrance, thereby
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        providing an accessible route from parking to the entrance.
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    1          17.      Without injunctive relief, Plaintiff and others will continue to be unable to
    2   independently use Defendant’s hotel in violation of her rights under the ADA.
    3                                     FIRST CAUSE OF ACTION
    4      18. Plaintiff incorporates all allegations heretofore set forth.
    5          19.      Defendant has discriminated against Plaintiff and others in that it has
    6   failed to make its public lodging services fully accessible to, and independently usable
    7   by, individuals who are disabled in violation of 42 U.S.C. § 12182(a) and §
    8   121282(b)(2)(iv) and the 2010 Standards, as described above.
    9          20.      Defendant has discriminated against Plaintiff in that it has failed to
   10   remove architectural barriers to make its lodging services fully accessible to, and
   11   independently usable by individuals who are disabled in violation of 42 U.S.C.
   12   §12182(b)(A)(iv) and the 2010 Standards, as described above. Compliance with the
   13   2010 Standards would neither fundamentally alter the nature of Defendant’s lodging
   14   services nor result in an undue burden to Defendant.
   15          21.      In violation of the 2010 Standards, Defendant’s Hotel parking lot does not
   16   comply with Section 502.3 of the Standards, as described above.
   17          22.      Compliance with 42 U.S.C. § 12182(b)(2)(A)(iv) and the 2010 Standards,
   18   as described above, is readily achievable by the Defendant. Id. Readily achievable
   19   means that providing access is easily accomplishable without significant difficulty or
   20   expense.
   21          23.      Defendant’s conduct is ongoing, and Plaintiff invokes her statutory right
   22   to declaratory and injunctive relief, as well as costs and attorneys’ fees.
   23          24.      Without the requested injunctive relief, Defendant’s non-compliance with
   24   the ADA’s requirements that its parking lot be fully accessible to, and independently
   25   useable by, disabled people is likely to recur.
   26          WHEREFORE, Plaintiff demands judgment against Defendant as follows:
   27                a. Declaratory Judgment that at the commencement of this action Defendant
   28                   was in violation of the specific requirements of Title III of the ADA
                        described above, and the relevant implementing regulations of the ADA;

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    1
                     b. Permanent injunction pursuant to 42 U.S.C. § 12188(a)(2) and 28 CFR §
    2                   36.504(a) which directs Defendant to take all steps necessary to bring its
    3                   parking lot into full compliance with the requirements set forth in the
                        ADA;
    4
    5                c. Payment of costs and attorney’s fees;

    6                d. Provision of whatever other relief the Court deems just, equitable and
                        appropriate.
    7
    8                                   SECOND CAUSE OF ACTION

    9      25. Plaintiff realleges all allegations heretofore set forth.
   10          26.      Defendant has violated the Unruh by denying Plaintiff equal access to its
   11   public accommodation on the basis of her disability as outlined above.
   12          27.      Unruh provides for declaratory and monetary relief to “aggrieved
   13   persons” who suffer from discrimination on the basis of their disability.
   14          28.      Plaintiff has been damaged by the Defendant’s non-compliance with
   15   Unruh.
   16          29.      Pursuant to Cal Civ. Code §52, Plaintiff is further entitled to such other
   17   relief as the Court considers appropriate, including monetary damages in an amount of
   18   $4,000.00, and not more.
   19          30.      Pursuant to Unruh, Plaintiff is entitled to attorney’s fees and costs in an
   20   amount to be proven at trial.
   21          WHEREFORE, Plaintiff demands judgment against Defendant as follows:
   22                a. Declaratory Judgment that at the commencement of this action Defendant
                        was in violation of the specific requirements of Unruh; and
   23
   24                b. Permanent injunction pursuant to 42 U.S.C. § 12188(a)(2) and 28 CFR §
                        36.504(a) which directs Defendant to take all steps necessary to bring its
   25                   parking lot into full compliance with the requirements set forth in the
   26                   ADA;

   27                c. Payment of costs and attorney’s fees;
   28
                     d. Damages in the amount of $4,000.00; and

                                                    5
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    1
                e. Provision of whatever other relief the Court deems just, equitable and
    2              appropriate.
    3                              DEMAND FOR JURY TRIAL

    4        Plaintiff hereby demands a jury trial on issues triable by a jury.

    5        RESPECTFULLY SUBMITTED this 6th day of June, 2025.

    6                                            /s/ P. Kristofer Strojnik
    7                                            P. Kristofer Strojnik (242728)
                                                 Attorneys for Plaintiff
    8
                                            VERIFICATION
    9
   10        I declare under penalty of perjury that the foregoing is true and correct.

   11                      DATED this 6th day of June, 2025.
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   15               ______________________
                    Theresa Marie Brooke
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